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 6   Attorneys for Defendant
     ADVANCED MICRO DEVICES, INC.
 7

 8                             UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA

10                                       OAKLAND DIVISION

11
     TONY DICKEY, and PAUL PARMER                Case No. 4:15-cv-04922 HSG
12   individually and on behalf of all others
     similarly situated,                         NOTICE OF SETTLEMENT AND JOINT
13                                               STIPULATION AND ORDER TO
                           Plaintiffs,           ENLARGE ALL PRE-TRIAL AND TRIAL
14                                               DEADLINES PENDING SUBMISSION OF
            v.                                   MOTION FOR PRELIMINARY
15                                               APPROVAL OF SETTLEMENT
     ADVANCED MICRO DEVICES, INC., a
16   Delaware corporation,                       Judge:    Hon. Haywood S. Gilliam, Jr.
17                         Defendant.
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                                                          JOINT STIP. AND [PROPOSED] ORDER TO
                                                          ENLARGE PRE-TRIAL/TRIAL DEADLINES
                                                                      CASE NO. 4:15-CV-04922 HSG
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 1      JOINT STIPULATION TO ENLARGE ALL PRE-TRIAL AND TRIAL DEADLINES
 2           Pursuant to Rules 6-1, 6-2, 7-12, and 40-1 of the Civil Local Rules of the United States
 3   District Court for the Northern District of California, Plaintiffs Tony Dickey and Paul Parmer
 4   (collectively, “Plaintiffs”) and Defendant Advanced Micro Devices, Inc. (“AMD”) hereby file
 5   this Joint Stipulation to Enlarge All Pre-Trial and Trial Deadlines in this consumer class action
 6   case by approximately sixty (60) days. This filing is made with respect to the following facts and
 7   recitals:
 8           WHEREAS, the parties participated in a mediation session before the Honorable James F.
 9   Holderman (Ret.) of JAMS in May 2019, and as a result, have reached an agreement in principle
10   to settle this case on a class-wide basis, subject to the Court’s preliminary and final approval of
11   the terms of settlement;
12           WHEREAS, Plaintiffs anticipate needing approximately 30 days to prepare and file a
13   motion for preliminary approval of class settlement;
14           WHEREAS, the current pre-trial and trial deadlines are as follows:
15                               Event                                     Court Deadline
          Close of Fact Discovery                                 July 3, 2019
16        Exchange Opening Expert Reports                         July 26, 2019
          Exchange Rebuttal Expert Reports                        September 13, 2019
17        Close of Expert Discovery                               October 4, 2019
18        Last Day to File Dispositive and/or Daubert             November 1, 2019
          Motions
19        Oppositions to Dispositive and Daubert Motions          December 20, 2019
          Replies to Dispositive and Daubert Motions              January 17, 2019
20        Dispositive Motion Hearing Deadline                     February 6, 2020 at 2:00 p.m.
          Last Day for Parties to Meet and Confer                 April 24, 2020
21        Exchange Exhibits                                       May 15, 2020
          Motions in Limine Deadline                              May 29, 2020
22        Oppositions to Motions in Limine Deadline               June 5, 2020
23        Pretrial Conference Statement Deadline                  June 5, 2020
          Pretrial Conference                                     June 23, 2020 at 3:00 p.m.
24        Form Exhibit and Witness Lists Deadline                 July 2, 2020
          8-Day Jury Trial                                        July 13, 2020, at 8:30 a.m.
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26           WHEREAS, the parties have conferred and agreed, subject to the Court’s approval, to
27   enlarge all current pre-trial and trial deadlines by 60 days to allow for the preparation of a formal
28   settlement agreement and papers in support of Plaintiffs’ anticipated motion for preliminary
                                                                  JOINT STIP. AND [PROPOSED] ORDER TO
                                                      -1-         ENLARGE PRE-TRIAL/TRIAL DEADLINES
                                                                              CASE NO. 4:15-CV-04922 HSG
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 1   approval of class settlement;
 2          WHEREAS, the parties anticipate requesting the Court to issue a formal stay vacating all
 3   pre-trial and trial deadlines in connection with the submission of Plaintiffs’ anticipated motion for
 4   preliminary approval, pending final approval of settlement;
 5          WHEREAS, enlarging all current pre-trial and trial deadlines would avoid potentially
 6   unnecessary expenses and fees while the parties finalize their settlement and prepare a motion for
 7   preliminary approval and notice class-wide settlement;
 8          NOW, THEREFORE, by and through the undersigned counsel, the parties stipulate and
 9   agree, subject to the Court’s approval, that all current pre-trial and trial deadlines are enlarged by
10   approximately 60 days, as follows:
11                               Event                                 NEW Court Deadline
          Close of Fact Discovery                                 September 3, 2019
12        Exchange Opening Expert Reports                         September 24, 2019
          Exchange Rebuttal Expert Reports                        November 12, 2019
13        Close of Expert Discovery                               December 3, 2019
14        Last Day to File Dispositive and/or Daubert             January 2, 2020
          Motions
15        Oppositions to Dispositive and Daubert Motions          February 18, 2020
          Replies to Dispositive and Daubert Motions              March 17, 2020
16        Dispositive Motion Hearing Deadline                     April 6, 2020 at 2:00 p.m.
          Last Day for Parties to Meet and Confer                 June 23, 2020
17        Exchange Exhibits                                       July 14, 2020
          Motions in Limine Deadline                              July 28, 2020
18        Oppositions to Motions in Limine Deadline               August 4, 2020
19        Pretrial Conference Statement Deadline                  August 4, 2020
          Pretrial Conference                                     August 24, 2020 at 3:00 p.m.
20        Form Exhibit and Witness Lists Deadline                 August 31, 2020
          8-Day Jury Trial                                        September 11, 2020 at 8:30 a.m.
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22   IT IS SO STIPULATED.
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25                                        [Signature page to follow]
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                                                                  JOINT STIP. AND [PROPOSED] ORDER TO
                                                      -2-         ENLARGE PRE-TRIAL/TRIAL DEADLINES
                                                                              CASE NO. 4:15-CV-04922 HSG
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 1        Dated: May 31, 2019             O’MELVENY & MYERS LLP
 2                                        By:    /s/ E. Clay Marquez
 3                                               E. Clay Marquez

 4                                        Matt D. Powers
                                          mpowers@omm.com
 5                                        E. Clay Marquez
                                          cmarquez@omm.com
 6
                                          Attorneys for Defendant
 7                                        ADVANCED MICRO DEVICES, INC.

 8

 9        Dated: May 31, 2019             EDELSON PC

10
                                          By: /s/ Todd Logan
11                                           Todd Logan

12                                        Rafey S. Balabanian
                                          rbalabanian@edelson.com
13                                        Todd Logan
                                          tlogan@edelson.com
14
                                          Attorneys for Plaintiffs and the Class
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                                                  JOINT STIP. AND [PROPOSED] ORDER TO
                                        -3-       ENLARGE PRE-TRIAL/TRIAL DEADLINES
                                                              CASE NO. 4:15-CV-04922 HSG
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 1                                     ATTESTATION OF FILING
 2          Pursuant to Local Civil Rule 5.1(i)(3) regarding signatures, I, E. Clay Marquez, hereby
 3   attest that concurrence in the filing of this Joint Stipulation and [Proposed] Order to Enlarge All
 4   Pre-Trial and Trial Deadlines Pending Submission of Motion for Preliminary Approval of
 5   Settlement has been duly obtained from Todd Logan, counsel for Plaintiffs in the above-
 6   captioned case.
 7
             Dated: May 31, 2019                         O’MELVENY & MYERS LLP
 8

 9                                                       By:     /s/ E. Clay Marquez
                                                                     E. Clay Marquez
10
                                                         Attorneys for Defendant
11                                                       ADVANCED MICRO DEVICES, INC.
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15                                                 ORDER
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            PURSUANT TO STIPULATION, IT IS SO ORDERED
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18   DATED: June 3, 2019                                _______________________________
19                                                      HAYWOOD S. GILLIAM, JR.
                                                        United States District Judge
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                                                                 JOINT STIP. AND [PROPOSED] ORDER TO
                                                     -4-         ENLARGE PRE-TRIAL/TRIAL DEADLINES
                                                                             CASE NO. 4:15-CV-04922 HSG
